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  Members of the Jury:

           It is now my duty to instruct you on the rules of law that you must

  follow and apply in deciding this case. After I complete these instructions and

  after the attorneys complete the summations, you will go to the jury room and

  begin your discussion — what we call your deliberation.




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           You must base your decision only on the evidence presented here. You

  must not be influenced in any way by either sympathy for, or prejudice

  against, anyone.

           You must follow the law as I explain it — even if you do not agree with

  the law — and you must follow all of my instructions as a whole. You must

  not single out or disregard any of the instructions on the law.

           The fact that a corporation is a party must not affect your decision in

  any way. Every person — both a corporate person and a natural person —

  stands equal before the law and stands equal in a court of justice. Of course, a

  corporation can act only through people as the corporation’s employees; and,

  in general, a corporation is responsible under the law for an employee’s acts or

  statements if the act or statement occurs while the employee is acting on behalf

  of the corporation.




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           As I said earlier, you must consider only the evidence received during

  the case. The term “evidence” includes the testimony of the witnesses, the

  exhibits, and any stipulation of fact. Remember that what the lawyers say is

  not evidence in the case, and remember that you are not bound by the lawyers’

  recollection of the facts. It is your own recollection of the evidence that

  controls.

           Also, you should not assume from anything I might have said that I

  have an opinion concerning the issues in this case. Except for my instructions

  to you on the law, you should disregard anything I might have said during the

  trial and arrive at your own decision about the facts.




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           In considering the evidence you can make deductions and reach

  conclusions that reason and common sense lead you to make; and you should

  not be concerned about whether the evidence is direct or circumstantial.

           “Direct evidence” is the testimony of one, such as an eye witness, who

  asserts actual knowledge of a fact. “Circumstantial evidence” is proof of a

  chain of facts and circumstances tending to prove, or disprove, any fact in

  dispute. The law makes no distinction between the weight you can give to

  either direct or circumstantial evidence.




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           Now, in saying that you must consider all of the evidence, I do not

  mean that you must accept all of the evidence as true or accurate. You should

  decide whether you believe what each witness had to say, and you should

  decide the importance of that testimony. You can believe or disbelieve any

  witness, in whole or in part. In other words, you should consider all the facts

  and circumstances in evidence to determine which of the witnesses to believe

  and what weight to give to that testimony.




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           In deciding whether you believe a witness, ask yourself a few questions:

           1.        Did the witness impress you as one who was telling the truth?

           2.        Did the witness have any particular reason not to tell the truth?

           3.        Did the witness have a personal interest in the outcome of the
                     case?

           4.        Did the witness seem to have a good memory?

           5.        Did the witness have both the opportunity and the ability to
                     observe accurately the things about which the witness testified?

           6.        Did the witness appear to understand the questions clearly and
                     answer them directly?

           7.        Did the witness’s testimony differ from other evidence, including
                     the testimony of another witnesses?




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           You should also ask yourself whether there was evidence tending to

  prove that the witness testified falsely concerning some important fact or

  whether there was evidence that at some other time the witness said or did

  something, or failed to say or do something, that differed from the witness’s

  testimony before you during the trial.

           You should keep in mind, of course, that a simple mistake by a witness

  does not necessarily mean that the witness was not telling the truth to the best

  of the witness’s recollection, because people naturally tend to forget some

  things or to remember other things inaccurately. So, if a witness has

  misstated, you need to consider whether the misstatement was simply an

  innocent lapse of memory or whether the misstatement was an intentional

  falsehood; and that may depend on whether the misstatement has to do with

  an important fact or with only an unimportant detail.




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           If scientific, technical, or other specialized knowledge might assist the

  jury in understanding the evidence or in determining a fact in issue, a witness

  qualified by knowledge, skill, experience, training, or education may testify

  and may state an opinion. Typically, a witness of this kind is called an

  “expert” witness.

           But merely because this witness has expressed an opinion does not mean

  that you must accept this opinion. You should judge this witness’s testimony

  like any other testimony. You may accept it or reject it and give it as much

  weight as you think it deserves, considering the witness’s education and

  experience, the soundness of the reasons given for the opinion, and all other

  evidence in the case.

           When a witness is being paid for reviewing and testifying concerning the

  evidence, you may consider the possibility of bias and should view with

  caution the testimony of such witness where court testimony is given with

  regularity and represents a significant portion of the witness's income.




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           The parties agree that certain facts are true. This agreement is called a

  stipulation. You may treat these facts as proved for this case.




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           A deposition is a witness’s sworn testimony that is taken before the trial.

  During a deposition, the witness is under oath and swears to tell the truth, and

  the lawyers for each party may ask questions. A court reporter is present and

  records the questions and answers.

           The deposition of Samantha Jones, taken on May 23, 2017,was

  presented to you by reading the transcript. Deposition testimony is entitled to

  the same consideration as live testimony, and you must judge it in the same

  way as if the witness were testifying in court.

           Do not place any significance on the behavior or tone of voice of any

  person reading the questions or answers.




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           During the trial some of you have created notes. You will have your

  notes available to you during your deliberation, but you should make use of

  them only as an aid to your memory, and you should not give your notes

  precedence over your independent recollection of the evidence. Neither

  should you be unduly influenced by the notes of another juror. Notes are

  entitled to no greater weight than the memory or impression of each juror as to

  what the testimony might have been.




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           In this case it is the responsibility of Ms. James to prove every essential

  part of her claims by a “preponderance of the evidence.” This is sometimes

  called the “burden of proof” or the “burden of persuasion.”

           A “preponderance of the evidence” means an amount of evidence that is

  enough to persuade you that each of Ms. James’s claims is more likely true

  than not true.

           If the proof fails to establish any essential part of a claim or contention

  by a preponderance of the evidence, you should find against Ms. James.

  When more than one claim is involved, you should consider each claim

  separately.

           In deciding whether any fact has been proved by a preponderance of the

  evidence, you may consider the testimony of all of the witnesses, regardless of

  who called them, and all of the exhibits received in evidence, regardless of

  who produced them.

           If the proof fails to establish any essential part of Ms. James’s claims by

  a preponderance of the evidence, you should find for Intelligent Software

  Solutions, Inc., as to that claim.




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           To succeed on the claim in Count I — Florida Civil Rights Act–Sexual

  Harassment — Ms. James must prove each of the following facts by a

  preponderance of the evidence:

                     First:              Mr. Bennett harassed Ms. James because
                                         of her sex;

                     Second:             The harassment created a hostile work
                                         environment for Ms. James;

                     Third:              Ms. James’s supervisor knew, or in the
                                         exercise of reasonable care should have
                                         known, about the hostile work
                                         environment;

                     Fourth:             Ms. James’s supervisor failed to take
                                         prompt remedial action to eliminate the
                                         hostile work environment; and

                     Fifth:              Ms. James suffered damages because of
                                         the hostile work environment.

           A “hostile work environment” created by harassment because of sex

  exists if:

                     a.        Ms. James was subjected to offensive acts or
                               statements about sex — even if they were not
                               specifically directed at her;

                     b.        Ms. James did not welcome the offensive acts or
                               statements, which means that Ms. James did
                               not directly or indirectly invite or solicit them by
                               her own acts or statements;

                     c.        the offensive acts or statements were so severe
                               or pervasive that they materially altered the

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                               terms and conditions of Ms. James’s
                               employment;

                     d.        a reasonable person — not someone who is
                               overly sensitive — would have found that the
                               offensive acts or statements materially altered
                               the terms and conditions of the person’s
                               employment; and

                     e.        Ms. James believed that the offensive acts or
                               statements materially altered the terms and
                               conditions of her employment.

           To determine whether any discriminatory conduct in this case was “so

  severe or pervasive” that it materially altered the terms and conditions of

  employment, you should consider all the circumstances, including:

                     a.        how often the discriminatory conduct occurred;

                     b.        the severity of the conduct;

                     c.        whether the conduct was physically or
                               psychologically threatening or humiliating; and

                     d.        whether the conduct unreasonably interfered
                               with Ms. James’s work performance.

           A “material alteration” is a significant change in conditions.




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           Conduct that amounts only to ordinary socializing in the workplace

  does not create a hostile work environment. A hostile work environment will

  not result from occasional horseplay, sexual flirtation, offhand comments,

  simple teasing, sporadic use of offensive language, or occasional jokes related

  to sex. But discriminatory intimidation, ridicule, insults, or other verbal or

  physical conduct may be so extreme that it materially alters the terms and

  conditions of employment.

           To show that a supervisor, or a person with the authority to receive,

  address, or report a complaint of harassment, “should have known” of a

  hostile work environment, a predominance of the evidence must establish that

  the hostile environment was so pervasive and so open and obvious that any

  reasonable person in the supervisor’s position, or in the position of a person

  with the authority to receive, address, or report a complaint of harassment,

  would have known that the harassment was occurring.




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           If you find that Ms. James suffered damages because of a hostile work

  environment and that the damages would not have existed except for the

  hostile work environment, you may find that Ms. James suffered those

  damages because of the hostile work environment.

           Even if you find that a hostile work environment damaged Ms. James,

  ISS is not liable for those damages if a preponderance of the evidence proves:

                     First:              ISS exercised reasonable care to prevent
                                         and promptly correct any harassing
                                         behavior because of sex in the workplace
                                         and

                     Second:             Ms. James took advantage of ISS’s
                                         preventative or corrective opportunities,
                                         and ISS responded by taking reasonable
                                         and prompt corrective action.

           To determine whether ISS exercised reasonable care, you may consider

  whether:

                     a.        ISS created an explicit policy against
                               harassment because of sex in the workplace;

                     b.        ISS communicated the policy to its employees;
                               and

                     c.        the policy provided a reasonable process for Ms.
                               James to complain to higher management.

           As you consider the issues, recall that the Florida Civil Rights Act does

  not shield against harsh treatment in the workplace. Nor does the statute


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  require the employer to have good cause for its decisions. The Florida Civil

  Rights Act is not a vehicle for second-guessing business decisions. The

  employer may take adverse action against an employee for a good reason, a

  bad reason, a reason based on erroneous facts, or no reason at all, so long as its

  action is not for a discriminatory reason.




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           In Count II — Florida Civil Rights Act–Retaliation — Ms. James claims

  that ISS retaliated against Ms. James because she took steps to enforce her

  lawful rights under the Florida Civil Rights Act.

           Laws that prohibit discrimination in the workplace also prohibit an

  employer from taking any retaliatory action against an employee because the

  employee has asserted rights or made complaints under those laws.

           An employee may make a discrimination complaint as a means to

  enforce what she believes in good faith to be her lawful rights. So, even if a

  complaint of discrimination against an employer is later found to be invalid or

  without merit, the employee cannot be penalized in retaliation for having

  made such a complaint if you find that the employee made the complaint as a

  means of seeking to enforce what the employee believed in good faith to be her

  lawful rights. To establish “good faith,” however, it is insufficient for Ms.

  James merely to allege that her belief in this regard was honest and bona fide;

  the allegations and the record must also establish that the belief, though

  perhaps mistaken, was objectively reasonable.

           To succeed on the retaliation claim in Count II, Ms. James must prove

  each of the following facts by a preponderance of the evidence:




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                     First:              Ms. James engaged in a protected activity;

                     Second:             ISS then took an adverse employment
                                         action;

                     Third:              ISS took the adverse employment action
                                         because of Ms. James’s protected activity;
                                         and

                     Fourth:             Ms. James suffered damages because of
                                         the adverse employment action.

           “Protected activity” includes a complaint about sexual harassment if the

  complaint is based on a good-faith, reasonable belief that sexual harassment

  occurred. A “good faith” belief is a reasonable and honest belief under the

  circumstances even if the belief was mistaken.

           An adverse employment action — in this instance, termination —

  occurs “because of” protected activity if the protected action was the main

  reason for the termination, that is, if the termination would not have occurred

  otherwise.

           ISS claims that the termination occurred for another reason, and an

  employer may terminate the employment of an employee for any other lawful

  reason, good or bad, fair or unfair. You must not second guess that decision,

  and you must not substitute your own judgment for the employer’s — even if

  you disagree.



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           Count III claims a violation of the Florida Private Whistle-Blower Act.

  To succeed on Count III Ms. James must prove each of the following facts by

  a preponderance of the evidence:

                     First:              Ms. James engaged in a protected activity;

                     Second:             ISS then took an adverse employment
                                         action;

                     Third:              ISS took the adverse employment action
                                         because of Ms. James’s protected activity;
                                         and

                     Fourth:             Ms. James suffered damages because of
                                         the adverse employment.

           Here, “protected activity” means objecting to a violation of the law.

           Under the Florida Private Whistle-Blower Act, an adverse employment

  action — in this instance, termination — occurs “because of” protected

  activity if the protected activity was the main reason for the termination, that

  is, if the termination would not have occurred otherwise.

           Again, you must not second guess that decision, and you must not

  substitute your own judgment for the employer’s — even if you disagree.




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           Count IV claims a violation of the Florida Civil Rights Act – Handicap

  Discrimination. Under the FCRA, if a person is qualified to do the job, it is

  unlawful for an employer to discharge the person because it perceived that

  person as disabled.

           To succeed on Count IV, Ms. James must prove each of the following

  by a preponderance of the evidence:

                     First:              Ms. James was perceived as having a
                                         handicap;

                     Second:             Ms. James was a qualified individual;

                     Third:              ISS discharged Ms. James; and

                     Fourth:             ISS took that action because it perceived
                                         Ms. James as handicapped.

           The first element requires that Ms. James prove by a preponderance of

  the evidence that she was perceived as having a handicap. A “handicap” is a

  physical or mental impairment that substantially limits one or more major life

  activities.

           A “physical impairment” is a condition that prevents the body from

  functioning normally. A “mental impairment” is a condition that prevents the

  mind from functioning normally.

           Delusional disorder and paranoia are “handicaps” under the law.



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           A “major life activity” includes, but is not limited to, caring for oneself,

  performing manual tasks, seeing, hearing, eating, sleeping, walking, standing,

  lifting, bending, speaking, breathing, learning, reading, concentrating,

  thinking, communicating, and working.

           Under the FCRA, a person is perceived as disabled not only if the

  person has a physical disability, but also if the person’s employers perceive,

  even if incorrectly, that the person as unable to perform the job’s duties due to

  a perceived impairment.

           Terminating a person’s employment “because of” the perception of a

  handicap means that the perception was the main reason for the termination

  and that the termination would not have occurred had the perception not been

  present but everything else had been the same.

           Again, an employer may discharge an employee for any lawful reason,

  good or bad, fair or unfair. You must not second-guess that decision, and you

  must not substitute your own judgment — even if you do not agree with the

  decision to terminate.




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           If you find for Ms. James on any count, you should award

  compensatory damages. When considering the issue of Ms. James’s

  compensatory damages, you should determine what amount, if any, has been

  proved by Ms. James by a preponderance of the evidence as compensation

  that is full, just, and reasonable — but no more and no less — for all of Ms.

  James’s damages as a result of the hostile work environment. Compensatory

  damages are not allowed as a punishment and must not be either imposed or

  increased to penalize ISS. Also, compensatory damages must not be based on

  speculation or guesswork.

           You should consider the following elements of damage and no others, to

  the extent you find that Ms. James has proved them by a preponderance of the

  evidence:

                     a.        net lost wages and benefits to the date of your
                               verdict and

                     b.        emotional pain and mental anguish.

           To determine the amount of Ms. James’s net lost wages and benefits,

  you should consider evidence of the actual wages she lost and the monetary

  value of any benefits she lost.

           To determine whether and, if so, how much Ms. James should recover

  for emotional pain and mental anguish, you may consider both the mental and


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  physical aspects of injury — tangible and intangible. Ms. James does not have

  to introduce evidence of a monetary value for intangible things like mental

  anguish. You must determine what amount will fairly compensate her for

  those claims. There is no exact standard to apply, but the award should be fair

  in light of the evidence.




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           If you find for Ms. James on either Count I, Count II, or Count IV and

  award her compensatory damages, you can consider an award of punitive

  damages. The purpose of punitive damages is not to compensate Ms. James

  but, instead, to punish ISS for wrongful conduct and to deter similar wrongful

  conduct.

           You can award punitive damages only if a preponderance of the

  evidence proves that an employee of ISS, acting in a managerial capacity,

  acted either with malice or with reckless indifference to Ms. James’s protected

  rights.

           There is no bright-line rule about which employees act in a managerial

  capacity. You must determine whether an employee acted in a “managerial

  capacity” based on the type of authority ISS gave the employee and the

  amount of discretion that the employee had in what was done and how it was

  accomplished.

           To show that ISS acted with malice, Ms. James must show that an

  employee acting in a managerial capacity knew that the law prohibits

  discrimination and discriminated against Ms. James anyway. To show that

  ISS acted with reckless indifference to Ms. James’s protected rights, Ms. James

  must show that an employee acting in a managerial capacity acted with



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  serious disregard for whether the conduct violated the law. Either malice or

  reckless indifference is sufficient to warrant an award of punitive damages.

           An employer may not be held liable for punitive damages because of

  discriminatory acts on the part of its managerial employees where the

  managerial employees’ acts are contrary to the employer’s good faith efforts to

  comply with the law by implementing policies and programs designed to

  prevent unlawful discrimination in the workplace. However, the mere

  existence of policies prohibiting discrimination does not preclude punitive

  damages if the policies are ineffective.

           In determining whether to award punitive damages, you may consider

  factors such as:

                     •         whether ISS engaged in a pattern of discrimination
                               toward its employees;

                     •         whether ISS acted spitefully or malevolently;

                     •         whether ISS showed a blatant disregard for civil legal
                               obligations;

                     •         whether ISS failed to investigate reports of
                               discrimination;

                     •         whether ISS failed to take corrective action concerning
                               discriminatory acts or comments by its employees;
                               and




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                     •         whether the person accused of discrimination was
                               included in the employer’s decision making process
                               concerning Ms. James’s discharge.

           If you find that punitive damages should be assessed against ISS, you

  may consider the evidence regarding ISS’s financial resources in fixing the

  amount of such damages.

           Of course, the fact that I have given you instructions about damages

  should not be interpreted in any way as an indication that I believe that Ms.

  James should, or should not, prevail in this case.




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           Any verdict you reach in the jury room must be unanimous. In other

  words, to return a verdict you must all agree. Your deliberation will be secret;

  you will never have to explain your verdict to anyone.

           It is your duty as jurors to discuss the case with one another in an effort

  to reach agreement if you can do so. Each of you must decide the case for

  yourself, but only after full consideration of the evidence with the other

  members of the jury. While you are discussing the case do not hesitate to

  re-examine your own opinion and change your mind if you become convinced

  that you were wrong. But do not give up your honest beliefs solely because

  the others think differently or merely to get the case over with.

           Remember, that in a very real way you are judges — judges of the facts.

  Your only interest is to seek the truth from the evidence in the case.




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           When you get to the jury room, choose one of your members to act as

  foreperson. The foreperson will direct your deliberations and speak for you in

  court. A form of verdict has been prepared for your convenience.

                                                  [Explain verdict]

           You will take the verdict form to the jury room and when you have

  reached unanimous agreement you will have your foreperson fill in the verdict

  form, date and sign it, and then return to the courtroom.

           If you should desire to communicate with me at any time, please write

  down your message or question and pass the note to the marshal who will

  bring it to my attention. I will then respond as promptly as possible, either in

  writing or by having you returned to the courtroom so that I can address you

  orally. I caution you, however, with regard to any message or question you

  might send, that you should not tell me your numerical division at the time.




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